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•                                                      Monsanto
                                                       Monsanto Company
                                                       1101 17th Street. N. W.
                                                       Washington. D. C. 20036
                                                       Phone : (202 452-8860

                                                      March 13, 1985



                  Mr. Douglas D. Campt
                  Director, Registration Division
                  Office of Pesticide Programs
                  U.S. Environmental Protection Agency
                  1921 Jefferson Davis Highway
                  Arlington, Virginia 22702

                                                                         Subject: Roundup@ Herbicide
                                                                         EPA Reg. Nos. 524-308,
                                                                         524-330, 524-339, 524-332
                                                                         524-343



                  Dear Mr. Campt:

                  As part of a program to replace IBT toxicology studies
                  Monsanto conducted a chronic feeding study with glyphosate
                  in mice. Dietary levels of
                  were used in this                                Even though
                  the highest feeding level was equivalent to 3% glyphosate
                  in the diet, no major chronic effects were observed nor were
                  there any treatment related                    noted.
                                           m,_ oncogenic effects x^      This
                  study was                                          r Upon
                  completion of its review, the Agency indicated concern over
                  a very low incidence of microscopic renal adenomas observed
                  in high dose male mice. The incidence data were 0, 0, 1, 3
                  for control, low-dose, mid-dose, and high dose levels,
                  respectively, and are not statistically significant at the
                  99% confidence level.

                                  in response to a request by the Agency, we
                  submitted historical control data from tha laboratory which
                  performed the study as well as two other major contract
                  laboratories.  The data indicated that this lesion does
                  occur occasionally and in comparable ranges.

                                mom       Dr. Lyle GingericI, Dr. Fred Johannsen
                  -and I met with Drs. Farber and Burnam of the EPA. We had a
                  full exchange of opinions at this meeting and appreciated the
                  opportunity to explore the EPA position on glyphosate with
                  them.




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                  In the course of our meeting, however,        it became clear that
                  the    .      e s-.:the




                                     The purpose of this letter is to summarize
                  the scientific basis for our position and to provide addition-
                  al interpretation and information for your consideration.

                  A.     Inconsistency With Treatment-Related Etiology

                  1.     Sex - specific Occurrence

                        Renal adenomas were only observed in male and not female
                        mice following 2 years of glyphosate treatment.
                        Significantly, and perhaps not considered by the EPA,
                        was the fact that female mice in the high - dose group

•                       took in fully 20% more glyphosate on an mg/kg/day basis
                        than their male counterparts ( 4232-9859 mg/kg/day in
                        females vs . 3465 -7 220 mg/kg/day in males ).  If this
                                                                     have expected
                        lesion were treatment - related , one would
                        a dose - dependent increase in tumor development. This
                        obviously did not occur because no females on test
                        developed a renal adenoma.

                  2.     No Time Course to Tumor Development

                         The small incidence of renal tumors seen in male mice
                         possessed no normal time course to tumor development.
                         Lesions were only observed in terminally sacrificed
                         animals , while none were found in animals which died
                         before the end of the 24 month study period. This
                         observation supports the
                                                                          ecause
                         a decreased  time-to-tumor interval would have been
                         expected had the latter been the case.

                  3.     No Progression of Neoplastic Lesion
                                               not malignant,


                                    lad this effect been treatment related, a
                         progression towards carcinomas formation and a multipli-
                          :ity of sites would have been expected, especially in
                         senile mice.




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                  4.     No Evidence to Support a Preneoplastic Effect

                         In contrast to thoughts expressed by the EPA at our


                                                                         In fac
                         no such effects_we_re observe  n groups o mice fed
                         glyphosate at a dose level of 50,000 ppm for up to 3
                         months; report submitted in May 1980, accession number
                         242799.  Similarly, evaluation in a broad range of
                         mutagenicity assays designed to assess point mutations,
                         DNA damage or chromosomal effects in mammalian and
                         bacterial cell systems uniformly resulted in a complete
                         lack of geno -toxicity.

                  5.     Specie Specificity

                         Results of a previously submitted 2-year rat study
                         clearly established that there were



•                 A.     Consistency With Spontaneous Etiology

                         1.     Lack of Statistical Significance

                         The original analysis of multiple comparison of renal
                         tumors between control and treated groups was conducted
                         using the chi-square test for homogeneity.   The
                         significance level, or p-value, obtained from this test
                         was 0.1241 (corrected) and 0.0408 (uncorrected). The
                           ;corrected chi-square is essentially the same test but
                         with a correction factor designed to improve the
                         approximation. More imprtantly, the more widely
                         accepted Fisher's Exact Test gives a p-value of 0.1249.




                         Analysis of the data by the
                         linear dose-response trends gives a
                         Theoretically, a finding of either one less tumor in the
                         high dose group or one tumor in the control or low-dose
                         group results in lack of statistical significance at the
                         p=0.05 level.  See Table on page 4 of this letter. Most
                         importantly,


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                            Number of Tumors at Dose                     Cochran Armitage Test

                  0         1000 ppm          5000 ppm    30 , 000 ppm         p-Value

                  0            0                      1      3                   0.016
                  1            0                      1      3                   0.068
                  0            1                      1      3                   0.063
                  0            0                      1      2                   0.239

                  2.    Within Range (%) of Historical Values

                        While the mean incidence of renal adenomas in large
                        groups of male mice is quite low, Monsanto has supplied

                                                          Since the glyphosate
                        male control group di no contain an animal with a
                        renal tumor it obviously was at the low end of the
                        range. The incidence of renal adenomas in high dose
                        male mice were within, albeit at the high end, of the
•                       historical range of 7.1% for adenomas . The fact that
                        no carcinomas were observed in any test group puts all
                        four groups at the lowest end (0.0%) of the historical
                        range for this tumor delineation.

                  3.     Spontaneously Occurring Tumors Appear to be Sex Specific

                        Based on literature surveyed and historical control data
                        gathered,
                                                                        The fact
                        that the  renal adenomas seen in this   study were also
                        seen only in males , not females ( even  though females
                        consumed a higher total glyphosate intake in this study),
                        is consistent with the data available on the spontaneous
                        occurrence of this tumor type.




                              This conclusion ha; been reached not only by
                  Monsanto scientists but by regulatory agencies worldwide.

                  As you know, Roundup is an extremely important herbicide to
                  agriculture in the U. S. and a:eound the world. Monsanto is
                  concerned that even the initiation of formal regulatory
•                 action would have serious negative economic repercussions




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                   which we believe are not justified by the scientific evidence.
                   Therefore,




                   Thank you for your consideration of our request. Monsanto
                   places high priority on the satisfactory resolution of
                   this matter and we look forward to your response.

                   Should you have any questions, please contact Dr. Chester
                   Dickerson or Mr. Lyle Gingerich of our Washington office or
                   me.

                                                      Sincerely,



                                                      Frank S. Serdy
                                                      Manager , Federal and State
                                                            Registration Affairs

                   /pt

                   cc:     Mr.    Lyle L. Gingerich/Dr. Chester T. Dickerson, Jr.
                           Dr.    J. Akerman
                           Dr.    T. Farber
                           Mr.    R. J. Taylor




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                                                                                 bcc:   E. E. Debus
                                                                                        R. L. Harness
                                                                                        T. F. Armstrong

                                                       Monsanto                         R. W. Street
                                                                                        F. R. Johannsen
                                                                                        T. W. Fuhremann


                                                       Monsanto Company
                                                       1101 17th Street, N. W.
                                                       Washington. 0. C. 20036
                                                       Phone: '202:! 452-8860

                                                      March 13,          1985



                    Mr. Douglas D. Campt
                    Director, Registration Division
                    Office of Pesticide Programs
                    U.S. Environmental Protection Agency
                    1921 Jefferson Davis Highway
                    Arlington, Virginia 22702

                                                                         Subject: Roundup@ Herbicide
                                                                         EPA Reg. Nos. 524-308,
                                                                         524-330, 524-339, 524-332
                                                                         524-343
                                                                         Chronic Mouse Study with
                                                                         Glyphosate

                    Dear Mr. Campt:
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                    As part of a program to replace IBT toxicology studies
                    Monsanto conducted a chronic feeding study with glyphosate
                    in mice.  Dietary levels of 0, 1000, 5000, and 30,000 ppm
                    were used in this two year oncogenicity study.    Even though
                    the highest feeding level was equivalent to 3% glyphosate
                    in the diet, no major chronic effects were observed nor were
                    there any treatment related oncogenic effects noted.     This
                    study was submitted to the Agency in August, 1983.    Upon
                    completion of its review, the Agency indicated concern over
                    a very low incidence of microscopic renal adenomas observed
                    in high dose male mice.    The incidence data were 0, 0, 1, 3
                    for control, low-dose,  mid-dose,  and high dose levels,
                    respectively, and are  not  statistically significant at the
                    99% confidence level.

                    In March, 1984, in response to a request by the Agency, we
                    submitted historical control data from the laboratory which
                    performed the study as well as two other major contract
                    laboratories.  The data indicated that this lesion does
                    occur occasionally and in comparable ranges.

                    On February 21, 1985,   Dr. Lyle Gingerich, Dr. Fred Johannsen
                    and I met with Drs. Farber and Burnam of the EPA.     We had a
                    full exchange  of opinions  at this meeting  and appreciated  the
                    opportunity to  explore the  EPA position on  glyphosate with
                    them.




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                   In the course of our meeting, however, it became clear that
                   the EPA considers the results of the mouse study to be posi-
                   tive and that glyphosate should be categorized as a "possible"
                   human carcinogen, albeit acknowledging that the weight of
                   the evidence for this conclusion is weak.

                   We continue to believe that the results of the chronic mouse
                   study do not support the conclusion of a treatment-related
                   oncogenic effect.  The purpose of this letter is to summarize
                   the scientific basis for our position and to provide addition-
                   al interpretation and information for your consideration.

                   A.     Inconsistency With Treatment-Related Etiology

                    1.    Sex-specific Occurrence

                          Renal adenomas were only observed in male and not female
                          mice following 2 years of glyphosate treatment.
                          Significantly, and perhaps not considered by the EPA,
                          was the fact that female mice in the high- dose group
                          took in fully 20% more glyphosate on an mg/kg/day basis
0                         than their male counterparts (4232-9859 mg/kg/day in
                          females vs. 3465-7220 mg/kg/day in males).   If this
                          lesion were treatment-related, one would have expected
                          a dose-dependent increase in tumor development.   This
                          obviously did not occur because no females on test
                          developed a renal adenoma.

                    2.    No Time Course to Tumor Development

                          The small incidence of renal tumors seen in male mice
                          possessed no normal time course to tumor development.
                          Lesions were only observed in terminally sacrificed
                          animals, while none were found in animals which died
                          before the end of the 24 month study period. This
                          observation supports the contention that these lesions
                          were age-related rather than treatment-related because
                          a decreased time-to-tumor interval would have been
                          expected had the latter been the case.

                    3.    No Progression of Neoplastic Lesion

                          Only benign, not malignant, renal tumors were observed
                          in aged male mice.  Additionally, these lesions were
                          found only unilaterally with no evidence of multiplicity
                          of form.  Had this effect been treatment related, a
                          progression towards carcinomas formation and a multipli-
                          city of sites would have been expected, especially in
                          senile mice.




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                    4.     No Evidence to Support a Preneoplastic Effect

                           In contrast to thoughts expressed by the EPA at our
                           February 21 meeting, no evidence of renal hyperplasia
                           or inflammatory changes suggestive of a preneoplastic
                           effect were seen in male mice from this study.  In fact,
                           no such effects were observed in groups of mice fed
                           glyphosate at a dose level of 50,000 ppm for up to 3
                           months; report submitted in May 1980, accession number
                           242799.  Similarly, evaluation in a broad range of
                           mutagenicity assays designed to assess point mutations,
                           DNA damage or chromosomal effects in mammalian and
                           bacterial cell systems uniformly resulted in a complete
                           lack of geno-toxicity.

                    5.     Specie Specificity

                           Results of a previously submitted 2-year rat study
                           clearly established that there were no treatment-related
                           renal tumors in that test species.

                    A.     Consistency With Spontaneous Etiology
0
                           1.     Lack of Statistical Significance

                           The original analysis of multiple comparison of renal
                           tumors between control and treated groups was conducted
                           using the chi-square test for homogeneity.      The
                           significance level, or p-value , obtained from this test
                           was 0.1241 ( corrected ) and 0 . 0408 (uncorrected). The
                 f,.y                  chi- square is essentially the same test but
                           with a correction factor designed to improve the
                           approximation . More imprtantly , the more widely
                           accepted Fisher's Exact Test gives a p - value of 0.1249.
                           Thus, by either the Fisher ' s Exact test or chi - square
                           (corrected ) test the tumor incidence data are not
                           significant at the p equals 0.05 level.

                           Analysis of the data by the Cochran - Armitage test for
                           linear dose - response trends gives a p-value of 0.016.
                           Theoretically , a finding of either one less tumor in the
                           high dose group or one tumor in the control or low-dose
                           group results in lack of statistical significance at the
                           p=0.05 level .   See Table on page 4 of this letter.  Most
                           importantly , the lack of any complementary or confirming
                           evidence of a treatment relationship for this tumor, as

s                          discussed previously with EPA and in this letter, casts
                           doubt on the likelihood of any dose - response relationship.




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                             Number of Tumors at Dose                  Cochran Armitage Test

                              1000 ppm         5000 ppm   30,000 ppm         p-Value

                                 0                    1      3                 0.016
                                 0                    1      3                 0.068
                                 1                    1      3                 0.063
                                 0                    1      2                 0.239

                    2.    within Range (%) of Historical Values

                          While the mean incidence of renal adenomas in large
                          groups of male mice is quite low , Monsanto has supplied
                          historical control data indicating a range of 0.0%-7.1%
                          in individual study populations .  Since the glyphosate
                          male control group did not contain an animal with a
                          renal tumor it obviously was at the low end of the
                          range. The incidence of renal adenomas in high dose
                          male mice were within, albeit at the high end, of the
                          historical range of 7 . 1% for adenomas . The fact that
                          no carcinomas were observed in any test group puts all
0
                          four groups at the lowest end (0 . 0%) of the historical
                          range for this tumor delineation.

                    3.     Spontaneously Occurring Tumors Appear to be Sex Specific

                           Based on literature surveyed and historical control data
                           gathered , renal tumors have only been seen spontaneously
                           in male not female mice of the CD - 1 strain. The fact
                           that the renal adenomas seen in this study were also
                           seen only in males, not females ( even though females
                           consumed a higher total glyphosate intake in this study),
                           is consistent with the data available on the spontaneous
                           occurrence of this tumor type.

                    In sum      Monsanto strongly believes that the overwhelming
                    weight of evidence available supports the position that the
                    incidence of renal adenomas in this study is unrelated to
                    treatment. This conclusion has been reached not only by
                    Monsanto scientists but by regulatory agencies worldwide
                                                                               to
                     As you know, Roundup is an extremely important herbicide
                     agriculture in the U. S. and around the world.  Monsanto is
                     concerned that even the initiation of formal regulatory
                     action would have serious negative economic repercussions




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                    which we believe are not justified by the scientific evidence.
                    Therefore, we request that you inform us of the next steps
                    EPA intends to take on the review of glyphosate.  Furthermore,
                    if, on the basis of the chronic mouse study, the Agency
                    intends to move toward regulation of glyphosate, we request
                    the opportunity to meet with Messrs. Campt and Melone to
                    discuss further our position.

                    Thank you for your consideration of our request.  Monsanto
                    places high priority on the satisfactory resolution of
                    this matter and we look forward to your response.

                    Should you have any questions, please contact Dr. Chester
                    Dickerson or Mr. Lyle Gingerich of our Washington office or
                    me.

                                                      Sincerely,



                                                      Frank S. Serdy
                                                      Manager, Federal and State
                                                            Registration Affairs

                    /pt

                    cc:     Mr.    Lyle L. Gingerich/Dr.    Chester T. Dickerson, Jr.
                            Dr.    J. Akerman
                            Dr.    T. Farber
                            Mr.    R. J. Taylor




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                                                      MARVIN KUSCHNER, M. D.
                                                         64 EAST GATE DRIVE
                                                       HUNTINWrDN , N. Y. 11743


•                                                      T[I*PHONC ( 516) 367-4811




                                                                                   May 11, 1985


              Timothy J. Long, Ph. D.
              Senior Product Toxicologist
              Monsanto Company
               800 N. Lindbergh Boulevard
               St. Louis, Missouri 63167

              Dear Doctor Long:

               At your request I have examined the sections of mouse kidneys in
               Project No, M-6 77-2061. Individual slides were derived from animals
               1001 through 4550 with the exception of animal 1016 which was noted
               to be missing.

               This first examination was undertaken to: (1) attempt to illuminate the
               morphogenesis of neoplasms by identifying pre-neoplastic changes;
               (2) keek for evidence of cytotoxic effects that might suggest a pro-

is             moting action of the test material ; ( 3) determine the presence or absence
               of epithelial neoplasia . The incidence of lymphomatous infiltration and
               non-neoplastic changes such as amyloidosis, pyelonephritis , renal abs-
               cesses , and multicystic change were not recorded by me although noted
               to be of common occurrence in all groups.

               Evidence of pre-neoplastic change and of cytotoxic effects were not
               found.

               The neoplasms noted were as follows:
                      Group I M - Animal 1028
                      Group III )L - Animal 3023
                      Group IV M - (Animals 4029; 4032; 4041

               These tumors were all of the renal cortical epithelial type. In
               animals 1028 and 4029 the tumors were minute ( lmm or less ) and were
               apparently not observed grossly. Tumors in the remaining 3 animals
               were large and men grossly . The largest of these (#3023) showed most
               evidence of aty?icality. There seems to be little point to classifying
               this tumor as malignant and the others as benign since it would appear
               that all these have the potential for enlargement , anaplasia, and
               peripheral invasion. No distinguishing histological characteristics of
               malignancy have; been identified.

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                                                      MARVIN KUSCHNER. M. D.
                                                         64 EAST UATE DRIVE
                                                       HUNTINGTQN . N. Y. 11743

                                                       TELEPHONE (516 ) 367-4811




                Timothy J. Long , Ph.D.                         -2-           Re:   Project No M-6 77-2061




                The single tumor in the control animal (#1028) is of the so-called
                "clear-cell" type. A11 others are predominantly of the "dark-cell"
                variety although one (#4032) has "clear-cell" components. I know of
                no biological distinction between these types.




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